Case 1:16-cv-00883-RJJ-PJG ECF No. 164 filed 07/19/18 PageID.809 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION



ALONZO SHAFFER,

               Plaintiff,
                                                             CASE NO. 1:16-CV-883
v.
                                                             HON. ROBERT J. JONKER
KALAMAZOO COUNTY SHERIFF
DEPARTMENT, et al.,

            Defendants.
__________________________________/

                                             ORDER

       The Court received a voicemail message from plaintiff Alonzo Shaffer on July 17, 2018.

The message itself is about five minutes in length and addresses several issues of concern to

Mr. Shaffer about the Court's handling of the case. In particular, Mr. Shaffer focuses on the

allocation of responsibilities between the Magistrate Judge and the District Judge. The message

also indicates that Mr. Shaffer intends to follow up his message with written communications to

the Court, first "off the record," and then depending on the Court's response, "on the record."

       The Court cannot have ex parte communications with any party to the case, whether oral

or written. To the extent Mr. Shaffer has any concerns, objections or other things to say about

issues in the case, he should put those things in proper form for filing on the record of the case.

This will ensure that the Court, the public and all parties to the case are using and responding to

the same information. It will also ensure that the constitutional, statutory, rule and order based

allocation of responsibility between the Magistrate Judge and the District Judge are followed in

the case.
Case 1:16-cv-00883-RJJ-PJG ECF No. 164 filed 07/19/18 PageID.810 Page 2 of 2



         The Court will file an electronic copy of the message so all parties have common access to

the information. The Court is providing this simply for purposes of information. If any party is

seeking relief from the Court, or objecting to any aspect of the proceeding, that party must follow

the normal rules and file an appropriate motion or other document on the record of the case. The

Court cannot and will not take action in response to voice mail messages or letters.



Dated:         July 19, 2018                  /s/ Robert J. Jonker
                                              ROBERT J. JONKER
                                              CHIEF UNITED STATES DISTRICT JUDGE
